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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                             :
KAREEM NISBETT, et al.,                                      :
                                             Plaintiffs, :
                                                             :   21 Civ. 6293 (LGS)
                           -against-                         :
                                                             :        ORDER
SUITABLE INC.,                                               :
                                             Defendant. :
                                                             :
-------------------------------------------------------------X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS, the Order dated August 12, 2021, required the parties to file a proposed case

management plan and joint letter seven days before the initial pretrial conference;

        WHEREAS, the initial pretrial conference is currently scheduled for November 18, 2021,

at 10:50 A.M.;

        WHEREAS, the parties failed to file the joint letter or proposed case management plan. It

is hereby

        ORDERED the parties shall file a joint letter and proposed case management plan as

soon as possible and no later than November 16, 2021, at noon.


Dated: November 15, 2021
       New York, New York
